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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

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-United States of America, et al.,
                                              :
                             Plaintiff,
                                              :
              - against -                           Case No. 1:20-cv-03010-APM
                                              :
Google LLC,
                                              :
                     Defendant.
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-
          [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE OF
                           RYAN J. TRAVERS

        Upon consideration of the motion of Apple Inc., seeking the admission pro hac vice of

 Ryan J. Travers and the Declaration of Ryan J. Travers submitted in support of the Motion, it

 is HEREBY ORDERED that the Motion for Admission Pro Hac Vice of Ryan J. Travers is

 GRANTED.




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                                                   Hon. Amit P. Mehta
                                                   United States District Judge




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